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        In the United States Court of Federal Claims
                               OFFICE OF SPECIAL MASTERS
                                              No. 15-483V
                                        Filed: December 7, 2016

* * * * * * * * * * * *                      *               UNPUBLISHED
MICOLOUS GRIFFIS, personal                   *
representative of the Estate of LAVERN       *
GRIFFIS, deceased,                           *
                                             *
                       Petitioner,           *               Special Master Gowen
                                             *
v.                                           *               Joint Stipulation on Damages;
                                             *               Influenza (“Flu”) Vaccine;
SECRETARY OF HEALTH                          *               Guillain-Barré Syndrome (“GBS”);
AND HUMAN SERVICES,                          *               Transvers Myelitis; Kidney
                                             *               Failure; Death
                       Respondent.           *
                                             *
* * * * * * * * * * * * *
Paul R. Brazil, Muller Brazil, LLP, Dresher, PA, for petitioner.
Douglas Ross, United States Department of Justice, Washington, DC, for respondent.

                              DECISION ON JOINT STIPULATION1

        On May 11, 2015, Lavern Griffis filed a petition pursuant to the National Vaccine Injury
Compensation Program.2 42 U.S.C. §§ 300aa-10 to 34 (2012). Upon Ms. Griffis’ death,
Micolous Griffis (“petitioner”) was substituted as petitioner and personal representative of Ms.
Griffis’ estate. Petitioner alleged that as a result of receiving an influenza (“flu”) vaccine on
October 10, 2013, Ms. Griffis suffered Guillain-Barré Syndrome (“GBS”), transverse myelitis,
and urinary retention and kidney failure, and that she subsequently died on May 7, 2015, as a
result of her alleged vaccine-related injury. Stipulation at ¶ 4.

1
 Because this decision contains a reasoned explanation for the undersigned’s action in this case, the
undersigned intends to post this ruling on the website of the United States Court of Federal Claims, in
accordance with the E-Government Act of 2002, 44 U.S.C. § 3501 note (2012) (Federal Management and
Promotion of Electronic Government Services). As provided by Vaccine Rule 18(b), each party has 14
days within which to request redaction “of any information furnished by that party: (1) that is a trade
secret or commercial or financial in substance and is privileged or confidential; or (2) that includes
medical files or similar files, the disclosure of which would constitute a clearly unwarranted invasion of
privacy.” Vaccine Rule 18(b).

2
 The National Vaccine Injury Compensation Program is set forth in Part 2 of the National Childhood
Vaccine Injury Act of 1986, Pub. L. No. 99-660, 100 Stat. 3755, codified as amended, 42 U.S.C. §§
300aa-1 to -34 (2012) (Vaccine Act or the Act). All citations in this decision to individual sections of the
Vaccine Act are to 42 U.S.C.A. § 300aa.
                                                     1
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        On December 7, 2016, the parties filed a stipulation in which they state that a decision
should be entered awarding compensation. Respondent denies that the flu vaccine caused Ms.
Griffis’ alleged GBS, TM, or any other injury or condition, or her death. Stipulation at ¶ 6.
Nevertheless, the parties agree to the joint stipulation, attached hereto as Appendix A. The
undersigned finds the stipulation reasonable and adopts it as the decision of the Court in
awarding damages, on the terms set forth therein.

        The parties stipulate that petitioner shall receive the following in compensation:

    a. A lump sum of $200,000.00 in the form of a check payable to petitioner, Micolous
       Griffis, as legal representative of the estate of Lavern Griffis. This amount
       represents compensation for all damages that would be available under 42 U.S.C. §
       300aa-15(a).

        Id. at ¶ 8.

        The undersigned approves the requested amount for petitioner’s compensation.
Accordingly, the clerk of the court SHALL ENTER JUDGMENT in accordance with the terms
of the parties’ stipulation.3

        IT IS SO ORDERED.

                                                          s/Thomas L. Gowen
                                                          Thomas L. Gowen
                                                          Special Master




3
  Pursuant to Vaccine Rule 11(a), entry of judgment is expedited by the parties’ joint filing of notice
renouncing the right to seek review.
                                                     2
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